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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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LIU JO S.P.A.,

                     Plaintiff,

                        v.                          1:21-cv-06543-LLS

KENDALL JENNER, KENDALL JENNER,
INC., ELITE WORLD GROUP, LLC, and                   NOTICE OF APPEARANCE
THE SOCIETY MODEL MANAGEMENT,
INC.,

                   Defendants.

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TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:

         PLEASE TAKE NOTICE that Alex Spiro of Quinn Emanuel Urquhart & Sullivan, LLP,

with offices located at 51 Madison Avenue, 22nd Floor, New York, NY 10010, hereby appears

on behalf of Defendants Kendall Jenner, Kendall Jenner, Inc., Elite World Group, LLC, and The

Society Model Management, Inc.

         I certify that I am admitted to practice in the Southern District of New York.



Dated:          New York, NY                          Respectfully Submitted,
                September 14, 2021



                                                      Alex Spiro
                                                      Quinn Emanuel Urquhart & Sullivan, LLP
                                                      51 Madison Avenue, 22nd Floor
                                                      New York, NY 10010
                                                      Tel: 212-849-7000
                                                      Fax: 212-849-7100
                                                      alexspiro@quinnemanuel.com

                                                      Counsel for all Defendants
